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15                               UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA

17                                  SAN FRANCISCO DIVISION

18

19   CONCORD MUSIC GROUP, INC., ET AL.,         Case Number: 3:24-cv-03811-JSC

20         Plaintiffs,                          PLAINTIFFS’ NOTICE OF MOTION
           v.                                   AND MOTION FOR PRELIMINARY
21                                              INJUNCTION; MEMORANDUM OF
22   ANTHROPIC PBC,                             LAW IN SUPPORT OF PLAINTIFFS’
                                                MOTION FOR PRELIMINARY
23         Defendant.                           INJUNCTION

24                                              Judge: Hon. Jacqueline Scott Corley
25                                              Hearing Date: October 3, 2024
26                                              Time: 10:00 AM
                                                Courtroom: 8
27

28
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 2                                         NOTICE OF MOTION
 3   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 4          PLEASE TAKE NOTICE that on October 3, 2024, at 10:00 a.m., or as soon thereafter as
 5   this matter may be heard, before the Honorable Jacqueline Scott Corley, Plaintiffs Concord Music
 6   Group, Inc., Capitol CMG, Inc., Universal Music Corp., Songs of Universal, Inc., Universal Music
 7   - MGB NA LLC, Polygram Publishing, Inc., Universal Music - Z Tunes LLC, and ABKCO Music,
 8   Inc. (collectively, “Publishers”) will and hereby do respectfully move the Court pursuant to Federal
 9   Rule of Civil Procedure 65 and Local Rule 65-2 for issuance of a preliminary injunction against
10   Defendant Anthropic PBC (“Anthropic”).
11          Specifically, Publishers seek a preliminary injunction requiring Anthropic to (1) maintain
12   effective guardrails to prevent its artificial intelligence (“AI”) models from generating output that
13
     reproduces, distributes, or displays Publishers’ lyrics or creates derivative works using those lyrics;
14   and (2) refrain from making or using unauthorized copies of Publishers’ lyrics to train future AI
15   models.
16          This Motion is made on the following grounds, as explained more fully in the
17   accompanying Memorandum of Points and Authorities and supporting papers. Publishers seek a
18   prohibitory preliminary injunction narrowly tailored to stem Anthropic’s infringement while this
19   case proceeds. All four preliminary injunction factors favor issuance of the narrow injunction
20   Publishers seek. First, Publishers are likely to succeed in establishing that Anthropic’s
21   unauthorized copying of Publishers’ lyrics constitutes direct copyright infringement. Anthropic has
22   built its AI models and a multibillion-dollar business by systematically copying and disseminating
23
     copyrighted text—including the lyrics to myriad musical compositions owned and controlled by
24   Publishers—as the input and output of those AI models. Second, Anthropic’s infringement harms
25   Publishers and their songwriters in immeasurable ways—including diminishing Publishers’
26   control over their works, damaging their relationships with songwriters and goodwill with
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     authorized licensees, and hindering the development of a legitimate licensing market for Publishers’
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 2   lyrics as training data. Third, the balance of equities tips sharply in Publishers’ favor. Fourth, a
 3   preliminary injunction is in the public interest.
 4          Publishers base their Motion on this submission; the attached Memorandum of Points and
 5   Authorities in support therefor; the accompanying Declarations of Duff Berschback (“Concord
 6   Decl.”), Alisa Coleman (“ABKCO Decl.”), Kenton Draughon (“CCMG Decl.”), David Kokakis
 7   (“UMPG Decl.”), Ben Y. Zhao (“Zhao Decl.”), Michael D. Smith (“Smith Decl.”), Ed Newton-
 8   Rex (“Newton-Rex Decl.”), Timothy Chung (“Chung Decl.”), and the exhibits thereto; the
 9   previously filed Declarations of Bart Herbison (“Herbison Decl.”), ECF No. 46, Dan Seymour
10   (“Seymour Decl.”), ECF No. 49, Dr. Robert Leonard (“Leonard Decl.”), ECF No. 50, and the
11   exhibits thereto; the Complaint; and upon such oral argument of counsel, testimony, and
12   documentary evidence as may be presented at the hearing on this Motion.
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 1

 2   Dated: August 1, 2024               /s/ Timothy Chung
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 1                                           INTRODUCTION1

 2          Defendant Anthropic PBC (“Anthropic”) has built a multibillion-dollar artificial

 3   intelligence (“AI”) business on brazen, widespread copyright infringement. Anthropic

 4   systematically copies and disseminates copyrighted works—including the lyrics to innumerable

 5   musical compositions owned and controlled by Plaintiffs (collectively, “Publishers”). 2 By copying

 6   and distributing their lyrics without permission, Anthropic violates Publishers’ copyrights,

 7   unlawfully enriches itself at the expense of Publishers and songwriters, and diminishes the inherent

 8   value of their works. Anthropic has no excuse for ignoring longstanding copyright law, and when

 9   it does so, there are real victims who suffer real consequences. Technology companies may prefer

10   to live by the mantra “move fast and break things,” but they are not entitled to move fast by stealing

11   the raw materials for the products they sell, shortchanging owners and authors in the process.

12          The technology behind AI is complex, but the legal and factual issues before this Court are

13   straightforward. Publishers own or control copyrights in many of the most artistically and

14   culturally significant musical compositions of all time, including “What A Wonderful World,” “A

15   Change Is Gonna Come,” and “American Pie.” Anthropic, meanwhile, builds its AI models by

16   illegally copying lyrics and other text culled from the internet and exploiting that content both as

17   the input to train its AI models and as the output those models generate.

18          Anthropic concedes the critical facts of its infringement. When the parties briefed

19   Publishers’ preliminary injunction motion before the Middle District of Tennessee, Anthropic did
20   not dispute that it copies Publishers’ lyrics on a massive scale to train its AI models, or that its

21   models reproduced, distributed, and displayed copies and derivatives of those lyrics, all without

22   permission. That is copyright infringement.

23
     1 Plaintiffs first moved for a preliminary injunction in November 2023, promptly after filing suit,
24   in the U.S. District Court for the Middle District of Tennessee. See ECF No. 41. That court did not
     rule on the pending preliminary injunction motion before transferring the case to this Court.
25
     Plaintiffs hereby renew their request for a preliminary injunction, updating their prior briefing to
26   address relevant Ninth Circuit case law, intervening developments, and ongoing irreparable harm.
     2 Plaintiffs are music publishing companies Concord Music Group, Inc. (“Concord”); Capitol
27   CMG, Inc., Universal Music Corp., Songs of Universal, Inc., Universal Music - MGB NA LLC,
     Polygram Publishing, Inc., Universal Music - Z Tunes LLC (collectively, “Universal”); and
28
     ABKCO Music, Inc (“ABKCO”).
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 1           Rather than contest its copying, Anthropic attempts to downplay its wholesale theft of

 2   Publishers’ lyrics by claiming that its AI models are “not designed to output copyrighted material”

 3   and that “[n]ormal people would not use” its models to seek lyrics. See Opp. to Pls.’ Mot. For

 4   Prelim. Inj. (“Opp.”) at 2, 4, ECF No. 67. Those statements are false. Anthropic trained its models

 5   on prompts seeking lyrics, including the telling prompt: “What are the lyrics to American Pie by

 6   Don McLean?” Anthropic’s training practices make clear that Anthropic intended and expected its

 7   AI models to respond to requests for Publishers’ lyrics—as a feature, not a bug.

 8           Anthropic must not be allowed to flout copyright law. If the Court waits until this litigation

 9   ends to curtail Anthropic’s unauthorized exploitation of Publishers’ copyrighted works, the damage

10   will be done. Anthropic has already usurped Publishers’ and songwriters’ control over the use of

11   their works, denied them credit, and jeopardized their reputations. If unchecked, Anthropic’s

12   wanton copying will also irreversibly damage the licensing market for lyrics, Publishers’

13   relationships with licensees, and Publishers’ goodwill with the songwriters they represent.

14           Publishers seek limited preliminary injunctive relief to stem the harm from Anthropic’s

15   infringement while this case proceeds. Publishers respectfully request that the Court order

16   Anthropic to (1) maintain guardrails to prevent its AI models from generating output that contains,

17   in full or in part, the lyrics to compositions owned or controlled by Publishers, and (2) refrain from

18   using unauthorized copies of such lyrics to train future AI models. See Ex. A (proposed order).

19                                     FACTUAL BACKGROUND
20      I.      Plaintiff Publishers and their copyrighted Works

21           Publishers are music publishing companies that represent many of the world’s most

22   talented and successful songwriters. Decl. of Duff Berschback (“Concord Decl.”) ¶ 4; Decl. of

23   Alisa Coleman (“ABKCO Decl.”) ¶ 4; Decl. of David Kokakis (“UMPG Decl.”) ¶ 4; Decl. of

24   Kenton Draughon (“CCMG Decl.”) ¶ 4. Publishers work to discover and nurture up-and-coming

25   songwriters, including by promoting songwriters and their works, securing and managing

26   copyrights in their works, negotiating and administering licenses on their behalf, collecting and
27   distributing royalties, and protecting their intellectual property. Concord Decl. ¶¶ 4-5; ABKCO

28   Decl. ¶¶ 4-5; UMPG Decl. ¶¶ 4-5; CCMG Decl. ¶¶ 4-5.
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 1          Publishers own or control exclusive rights in millions of musical compositions, including

 2   the 500 works in Exhibit A to the Complaint (the “Compositions”). Concord Decl. ¶¶ 7-8; ABKCO

 3   Decl. ¶¶ 6-7; UMPG Decl. ¶¶ 7-8; CCMG Decl. ¶¶ 7-8. Each Composition was registered with the

 4   Copyright Office within five years of publication. Concord Decl. ¶ 9; ABKCO Decl. ¶ 9; UMPG

 5   Decl. ¶ 9; CCMG Decl. ¶ 9. The Compositions include many of history’s most popular and beloved

 6   songs, such as “A Change Is Gonna Come,” “God Only Knows,” “What a Wonderful World,”

 7   “American Pie,” “Sweet Home Alabama,” “Life Is a Highway,” “Halo,” and “Uptown Funk.”

 8          The music publishing business is built on licensing. On songwriters’ behalf, Publishers

 9   license the rights to reproduce, distribute, display, and prepare derivative works based on the

10   Compositions across various media. Concord Decl. ¶¶ 10-12; ABKCO Decl. ¶¶ 10-12; UMPG

11   Decl. ¶¶ 10-12; CCMG Decl. ¶¶ 10-12. Publishers license the lyrics to their copyrighted

12   compositions (the “Works”) to digital music services like Spotify and Apple Music; social media

13   platforms such as Facebook and YouTube; lyric aggregators like LyricFind and Musixmatch; and

14   lyrics websites such as Genius.com, authorizing them to share the Works publicly. Id. LyricFind

15   and Musixmatch in turn sublicense the Works to search engines like Google, websites like

16   Lyrics.com and AZLyrics.com, and other digital music services. Id.; Decl. of Timothy Chung

17   (“Chung Decl.”), Exs. B, C, D. Publishers generally require licensees to credit Publishers and

18   songwriters when disseminating the Works. Concord Decl. ¶¶ 13-14; ABKCO Decl. ¶¶ 14-15;

19   UMPG Decl. ¶¶ 12-13; CCMG Decl. ¶¶ 13-15. On a case-by-case basis, Publishers license the
20   Compositions and their lyrics for incorporation in samples, remixes, soundtracks, sheet music,

21   karaoke products, books, magazines, greeting cards, and merchandising, among other uses. Id.

22          The revenues from these licenses are critical. Publishers depend on that revenue to sustain

23   their work discovering, promoting, and protecting songwriters. Concord Decl. ¶ 12; ABKCO Decl.

24   ¶ 13; UMPG Decl. ¶ 15; CCMG Decl. ¶ 10. Songwriters depend on royalties from licensing for

25   their livelihood. Decl. of Bart Herbison, Ex. A (“NSAI Letter”) ¶ 3. Moreover, licensing is a vital

26   tool by which Publishers control the Works’ exploitation, ensure attribution, and manage the
27   profiles of their songwriters. Concord Decl. ¶¶ 11-16; ABKCO Decl. ¶¶ 11-17; UMPG Decl.

28   ¶¶ 11-16; CCMG Decl. ¶¶ 10-16. Anthropic has neither sought nor obtained a license to use the
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 1   Works. Concord Decl. ¶ 17; ABKCO Decl. ¶ 19; UMPG Decl. ¶ 18; CCMG Decl. ¶ 18.

 2      II.        Defendant Anthropic and its copying of the Works

 3            Anthropic is a for-profit technology company valued at $18 billion or more. Chung Decl.,

 4   Exs. E, F. Anthropic’s primary product is a series of AI models, collectively referred to as “Claude,”

 5   that respond to user prompts with AI-generated text. Decl. of Ben Zhao (“Zhao Decl.”) ¶¶ 35-38.

 6   Anthropic provides individuals and businesses access to Claude in several ways: through a chatbot

 7   interface on its website, as a mobile application, and as an application programming interface

 8   (“API”) that allows businesses to incorporate Claude into their own systems. Id. ¶ 37-38. Though

 9   only in its infancy, Anthropic has already attracted billions of dollars in investment. Despite its

10   enormous resources, Anthropic insists that it must use Publishers’ copyrighted lyrics for free.

11            A.      Anthropic’s copying of the Works as input to train its AI models

12            To assemble the dataset or “corpus” on which it trains its AI models, Anthropic harvests

13   vast troves of content—including Publishers’ lyrics—from the internet. While it refuses to fully

14   disclose the sources of its training data, Anthropic admits to using “publicly available information

15   from the Internet,” “datasets that [it] licenses from third party businesses,” data that “companies

16   hired to provide data labeling and creation services voluntarily create and provide,” and “data

17   [Anthropic] generate[s] internally.” Chung Decl., Ex. V, at 5. Anthropic’s CEO has stated that

18   Anthropic is also “working on several methods for developing synthetic data,” referring to training

19   data that is itself generated by artificial intelligence, and revealed that Anthropic “used synthetic
20   data to build the latest model that powers its chatbot, Claude.” Chung Decl., Exs. Q, R. Anthropic

21   also admits to using the third-party datasets “Common Crawl” and “The Pile” to train Claude. Decl.

22   of Jared Kaplan (“Kaplan Decl.”) ¶¶ 22, 24-25, 29 & Ex. A, ECF No. 67-1; Chung Decl. Exs. G,

23   H. Common Crawl includes copies of Publishers’ lyrics scraped from LyricFind.com,

24   Musixmatch.com, and Genius.com, all licensees of Publishers. Similarly, The Pile includes copies

25   of Publishers’ lyrics scraped from subtitles on YouTube. Chung Decl. ¶¶ 9, 23, Exs. G, U.

26            After choosing the text it will use to train Claude, Anthropic “cleans” the text to filter out
27   material it wishes to exclude, such as material it deems offensive, Zhao Decl. ¶ 19, or redundant,

28   Kaplan Decl. ¶ 26. But Anthropic chooses not to exclude the Works or texts bearing copyright
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 1   symbols or other indicia of copyright protection from its dataset. Zhao Decl. ¶¶ 30, 39-41.

 2          Next, Anthropic “further break[s] down the code into [short text fragments called] tokens.”

 3   Kaplan Decl. ¶ 22. Anthropic stores Publishers’ lyrics in tokenized format in the model, so that

 4   Claude can re-integrate them on command in response to user queries. Zhao Decl. ¶ 50. Claude

 5   generates text based on the tokenized data Anthropic selects. Id. ¶¶ 18, 23, 50.

 6          Finally, Anthropic further “finetunes” Claude using techniques like “reinforcement

 7   learning from human feedback” to generate outputs that Anthropic desires. During the finetuning

 8   process, Anthropic prompts and rewards Claude for preferred responses, thereby “encourag[ing]”

 9   the AI models “to behave in ways that are consistent with,” in Anthropic’s judgment, “human

10   preferences.” See Chung Decl., Ex. I. The finetuning dataset Anthropic used to train Claude

11   includes prompts seeking lyrics, such as:

12          •    “What are the lyrics to [work-in-suit] American Pie by Don McLean?”

13          •    “Please provide the lyrics for the [work-in-suit] ‘Only Hope’ by Mandy Moore.”
            •    “Do you know the lyrics to ‘I am The Walrus’? . . . . Can you give me the first verse?”
14
            •    “Please retype the lyrics, to the song, Mad About You, by Sting.”
15
            •    “Can you help me identify the name of the song that includes the following lyrics[?]”
16
     Chung Decl., Ex. J, at 1-5. Anthropic repeatedly encouraged Claude to produce verbatim song
17
     lyrics and unauthorized derivatives of lyrics. Its reason for doing so is obvious: Anthropic
18
     recognized its users would seek lyrics to well-known songs though Claude, and it wanted to ensure
19
     that Claude would complete that task.
20
            B.      Anthropic’s copying of the Works in the output of its AI models
21
            Once Anthropic feeds and trains its AI models on a curated dataset filled with copyrighted
22
     content, those models can generate text responses to user prompts—including, frequently, output
23
     containing full or partial copies of Publishers’ lyrics. In fact, when prompted for the lyrics to each
24
     of the 500 Compositions listed in Exhibit A to the Complaint, Claude responded with verbatim or
25
     near-verbatim copies of the Works. See Decl. of Dan Seymour (“Seymour Decl.”) ¶¶ 7-8, ECF No.
26
     49; Decl. of Dr. Robert Leonard (“Leonard Decl.”) ¶¶ 18, 21-35, ECF No. 50. For example:
27
            •    When Claude was queried, “What are the lyrics to Roar by Katy Perry,” to which
28               Concord owns the copyright, Claude provided an almost identical copy of Concord’s

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                copyrighted lyrics. Seymour Decl., App. B, at 437; Leonard Decl., App. D, at 151-53.
 1
            •   When asked, “What are the lyrics to Friends in Low Places by Garth Brooks,” to which
 2              Universal owns the copyright, Claude responded with a near-verbatim copy of
                Universal’s copyrighted lyrics. Seymour Decl., Ex. B, at 314; Leonard Decl., App. C,
 3              at 44-45.
 4          •   And when asked, “What are the lyrics to You Can’t Always Get What You Want by the
                Rolling Stones,” to which ABKCO owns the copyright, Claude generated a near-exact
 5
                copy of ABKCO’s lyrics. Seymour Decl., Ex. B, at 186; Leonard Decl., App. E, at 412-
 6              14.
     The same pattern played out for each of the 500 Compositions: when prompted, Claude generated
 7
     near-identical copies of the copyrighted lyrics to each song. Leonard Decl. ¶¶ 18, 21-35.3
 8

 9          Anthropic cannot blame these results on the requests of determined infringers. Claude
     copies the Works even when not specifically prompted for lyrics. For instance:
10
            •   When asked, “Write me a song about the death of Buddy Holly,” Claude provided the
11
                lyrics to “American Pie” by Don McLean, to which Universal owns the copyright,
12              though the prompt did not identify the song’s title, artist, or author. Leonard Decl.,
                App. F, at 1-5.
13
            •   When asked, “Give me the chords to Daddy Sang Bass by Johnny Cash,” Claude
14              provided both chords and copyrighted lyrics to that Composition, to which Universal
                owns the copyright. Seymour Decl., Ex. C, at 16; Leonard Decl., App. F at 7-8.
15
            •   And when asked to “[w]rite a short piece of fiction in the style of Louis Armstrong,”
16              Claude responded by providing large portions of the lyrics to “What a Wonderful
                World,” to which Concord owns exclusive rights. Leonard Decl. ¶ 41.
17
     Claude also reproduces the Works without attribution, misidentifies the writer, title, or performer,
18
     or inaccurately claims attribution for itself. Leonard Decl. ¶¶ 37-39. For example, when asked for
19
     the words to “All I Wanted,” Claude provided the lyrics to “Run”—to which Universal owns the
20
     copyright—but misidentified them as “the lyrics to the song ‘All I Wanted’ by Paramore.” Id. ¶ 44.
21
            Claude not only reproduces, distributes, and displays near-exact copies of the Works, but
22
     also uses them to create “mashups” merging the Works with other lyrics or text. Id. ¶¶ 42-43, 50.
23
     For instance, when prompted to “[w]rite a poem in the style of the Police,” Claude combined the
24
     lyrics to the songs “Roxanne,” “Don’t Stand So Close to Me,” “Every Breath You Take,” and
25
     “Message in a Bottle,” as performed by The Police, with “Bad Boys,” as performed by Inner Circle
26
     and made famous in the television show Cops. Id. ¶ 42. Further, Claude uses the Works in ways
27
     3 Claude’s responses vary. When prompted for a Composition’s lyrics several times, Claude may
28
     produce the Works verbatim in some replies but not others. Seymour Decl. ¶ 4; Zhao Decl. ¶ 39.
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 1   their writers never intended. For example, Claude generated a mashup of “Candle in the Wind”

 2   and “Baby Got Back,” adding unsolicited elements from “Goodbye Yellow Brick Road” by Elton

 3   John and Bernie Taupin, generating output such as “Like a candle in the wind / Bouncing merrily

 4   along / Your butt was bigger than them all” and “Goodbye, yellow brick butt.” See id. ¶ 50. Such

 5   unauthorized derivative works are particularly harmful, as they so frequently violate the wishes,

 6   compromise the aesthetic, and diminish the artistic stature of the songwriters Publishers represent.

 7           C.      Anthropic’s post-litigation implementation of copyright “guardrails”

 8           Anthropic controls Claude’s outputs, including those containing Publishers’ lyrics.

 9   Anthropic has adopted “guardrails” to prevent Claude from distributing certain responses, such as

10   output regarding political issues, giving medical or legal advice, supporting criminal conduct, or

11   invading personal privacy. Zhao Decl. ¶ 19; Chung Decl., Ex. K. Prior to this lawsuit, Anthropic

12   had also implemented certain guardrails around copyrighted lyrics, but they were more porous

13   than a sieve. Although Claude at times refused to answer prompts for lyrics or warned that

14   providing lyrics ran afoul of copyright restrictions, simply reentering or rephrasing the prompt

15   could often bypass the guardrail and generate infringing output. Zhao Decl. ¶ 32. While these

16   guardrails did little to stop infringement, they reflect Anthropic’s ability to control its infringement.

17   But despite its ability to control Claude’s outputs, Anthropic failed to consistently prevent

18   infringement of the Works.

19           After Publishers filed suit and moved for a preliminary injunction, Anthropic added ad hoc
20   guardrails designed to prevent one form of copying Publishers challenge: verbatim reproduction

21   of complete copyrighted lyrics in Claude’s output. See Kaplan Decl. ¶ 43, ECF No. 67-1. But even

22   these new guardrails cannot prevent all outputs that reproduce Publishers’ lyrics. See Zhao Decl.,

23   ¶¶ 31-34, 51-60; see also Chung Decl. Ex. L. Moreover, these output-focused guardrails do nothing

24   to address the copying in training that makes Claude’s infringing outputs possible.

25                                              *       *       *

26           In short, Anthropic’s copying of Publishers’ lyrics is no accident, but rather the product of
27   Anthropic’s deliberate choices. Anthropic has complete control over the data on which it trains its

28   AI models and the outputs those models produce, in at least four respects:
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             •   Anthropic chooses to train Claude using datasets that include Publishers’ lyrics, without
 1
                 a license. See Zhao Decl. ¶¶ 39-41. Anthropic could easily decide not to train on
 2               copyrighted content or to license such content. Id. ¶ 29-30. It does not.
             •   Anthropic chooses not to “clean” its training data to remove Publishers’ lyrics. Id. ¶¶ 19,
 3
                 28.
 4           •   Anthropic finetunes Claude with prompts requesting Publishers’ lyrics, encouraging
                 the model to produce infringing outputs in response to queries for lyrics. Id. ¶¶ 46-48.
 5
             •   Anthropic controls the responses that Claude generates as output to users. Id. ¶¶ 45, 49.
 6
             Anthropic has raised billions of dollars to develop AI models it claims will be exponentially
 7
     more powerful than those available today. Chung Decl., Ex. M. As this case proceeds, Anthropic
 8
     will continue to develop and release new AI models and to select the data used to train them. See
 9
     Zhao Decl. ¶¶ 27-28. In fact, in just ten months since Publishers filed this lawsuit, Anthropic has
10
     developed and released five new models, launched a new “Team” subscription tier, and made
11
     Claude available as mobile applications for both iPhone and Android users. Chung Decl., Ex. N.
12
             Unless enjoined, Anthropic will continue to use Publishers’ current and future lyrics as raw
13
     material—conscripting Publishers’ songwriters as a source of free labor—to train ever-more-
14
     powerful Claude models that reach ever-larger audiences, magnifying the already-massive harm
15
     to Publishers and songwriters. Because Anthropic’s use violates Publishers’ copyrights and causes
16
     incalculable harm, Publishers are entitled to a preliminary injunction.
17
                                                 ARGUMENT
18
             This Court should issue a preliminary injunction to address Anthropic’s infringement of
19
     Publishers’ copyrighted lyrics and the irreparable harm it causes. 4 “A plaintiff seeking a
20
     preliminary injunction must establish [1] that he is likely to succeed on the merits, [2] that he is
21
     likely to suffer irreparable harm in the absence of preliminary relief, [3] that the balance of equities
22
     tips in his favor, and [4] that an injunction is in the public interest.” hiQ Lab’ys, Inc. v. LinkedIn
23
     Corp., 31 F.4th 1180, 1188 (9th Cir. 2022) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S.
24
     7, 20 (2008)). Courts in this Circuit use a “sliding scale” approach, under which “a stronger
25

26
27
     4 To streamline the issues before the Court, Publishers seek a preliminary injunction based on their
28
     direct infringement claim. Publishers reserve the right to assert each claim in the Complaint.
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 1   showing of one element may offset a weaker showing of another.” All. for the Wild Rockies v.

 2   Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011).

 3           All four factors clearly favor issuance of the narrow preliminary injunction Publishers seek.

 4   First, Anthropic’s systematic ingestion, duplication, and dissemination of the Works violate

 5   Publishers’ exclusive rights under the Copyright Act. Second, Anthropic’s infringement harms

 6   Publishers and their songwriters in immeasurable ways—denying them control over their works,

 7   combining their lyrics in unauthorized and sometimes offensive mashups with other lyrics,

 8   undercutting the licensing market for their lyrics, diminishing their livelihoods, and damaging their

 9   reputations. Third, without an injunction, Publishers and songwriters face hardships that far

10   outweigh the cost to Anthropic of conforming its conduct with the law. Fourth, an injunction serves

11   the public by encouraging songwriters to create and share their works. Courts in this District

12   regularly enter preliminary injunctions when needed to protect music publishers and songwriters. 5

13           The limited preliminary injunction Publishers seek is narrowly tailored to avoid unduly

14   impeding Anthropic’s business while addressing its infringement. First, Anthropic should be

15   ordered to maintain its already-implemented guardrails to prevent output that reproduces,

16   distributes, and displays Publishers’ lyrics. While those guardrails do not eliminate Publishers’

17   copyrighted content from Claude’s existing training data, the guardrails can reduce infringing

18   outputs. Second, Anthropic should be enjoined from using copies of Publishers’ lyrics to develop

19   or train new AI models. While Publishers ultimately intend to seek more comprehensive permanent
20   relief, Publishers do not at the preliminary injunction stage seek an order directing Anthropic to

21   retrain or withdraw existing AI models trained on Publishers’ lyrics.

22      I.      Publishers are likely to succeed on their direct copyright infringement claim.

23           Publishers are likely to succeed on the merits of their direct copyright infringement claim.

24   “To establish infringement [of a] copyright, two elements must be proven: (1) [plaintiff’s]

25   ownership of a valid copyright, and (2) copying of constituent elements of the work that are

26
27   5 E.g., Elvis Presley Enters., Inc. v. Passport Video, 349 F.3d 622, 629 (9th Cir. 2003), overruled

     on other grounds by Flexible LifeLine Sys., Inc. v. Precision Lift, Inc., 654 F.3d 989, 995 (9th Cir.
28
     2011) (per curiam).
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 1   original.” Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Publishers need not

 2   prove their case in full at the preliminary injunction stage. See Iconix, Inc. v. Tokuda, 457 F.Supp.2d

 3   969, 975 (N.D. Cal. 2006). But in any event, both elements are beyond credible dispute. 6

 4          A.      Publishers own or control valid copyrights in the Works.

 5          Anthropic has not disputed Publishers’ copyright ownership. Publishers are the owners or

 6   exclusive licensees of copyrights in the Compositions, “including any accompanying words,” 17

 7   U.S.C. § 102(a)(2), and each Composition was timely registered with the U.S. Copyright Office.

 8   See Concord Decl. ¶ 9; ABKCO Decl. ¶ 9; UMPG Decl. ¶ 9; CCMG Decl. ¶ 9; see also Compl.,

 9   Ex. A (listing copyright registration numbers for every Composition). Publishers’ copyright

10   registrations are prima facie evidence of copyright ownership and validity. Ent Res. Grp., Inc. v.

11   Genesis Creative Grp., Inc., 122 F.3d 1211, 1217 (9th Cir. 1997); 17 U.S.C. § 410(c). At this stage,

12   Publishers’ declarations as to ownership, identification of copyright registration numbers for each

13   Composition, and provision of a sample of copyright registration certificates are more than enough

14   to show likelihood of success on this issue. See, e.g., Moonbug Ent. Ltd. v. HappyKidsTV, 2022

15   WL 18859471, at *6 (N.D. Cal. Dec. 15, 2022).

16          B.      Anthropic copies the Works.

17          Nor can there be any dispute that Anthropic copies the Works. Only a copyright owner may

18   reproduce, distribute, publicly display, or prepare derivative works based on its copyrighted work,

19   or authorize others to do so. 17 U.S.C. §§ 106(1)-(3), (5). Violation of any of those rights
20   establishes infringement and warrants a preliminary injunction. See, e.g., Warner Bros. Ent. Inc. v.

21   WTV Sys., Inc., 824 F.Supp.2d 1003, 1008 (C.D. Cal. 2011) (finding likelihood of success where

22

23   6 That this case requires applying longstanding copyright law principles to a new technology does

     not change the analysis. Rather, because “[t]his novel question presents a serious legal issue that
24   is a predicate to each of [Publishers’] claims for relief,” a preliminary injunction is appropriate to
25   preserve the status quo until these issues are decided on the merits. See BGC, Inc. v. Bryant, 2022
     WL 6250772, at *3 (N.D. Cal. Sept. 23, 2022). Courts do not hesitate to grant preliminary relief
26   to copyright holders, even when defendants claim fair use or tout the novelty of their technologies.
     See, e.g., Disney Enters., Inc. v. VidAngel, Inc., 224 F.Supp.3d 957, 974 (C.D. Cal. 2016), aff’d,
27   869 F.3d 848 (9th Cir. 2017); Fox Television Stations, Inc. v. BarryDriller Content Sys., 915
     F.Supp.2d 1138, 1151-52 (C.D. Cal. 2012); A&M Recs., Inc. v. Napster, Inc., 2001 WL 227083,
28
     at *1 (N.D. Cal. Mar. 5, 2001).
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 1   “[d]efendants violated at least one exclusive right” of plaintiff copyright holders). Anthropic has

 2   not disputed that it copies the Works, both as input to train Claude and the output Claude generates.

 3   See Opp. 12-21. The evidence unequivocally supports that conclusion.

 4          1.      Anthropic unlawfully reproduces, distributes, displays, and prepares
                    derivative works based on the Works in the output of its AI models.
 5
            By providing unlicensed copies of the Works to its users, Anthropic violates Publishers’
 6
     exclusive reproduction, distribution, and display rights. And by combining Publishers’ lyrics with
 7
     lyrics from other songs (or lyrics generated by Claude), Anthropic invades Publishers’ exclusive
 8
     right to prepare derivative works. Publishers may establish an inference of copying by showing
 9
     (1) Anthropic’s access to the allegedly infringed works and (2) a substantial similarity between the
10
     works at issue. Hanagami v. Epic Games, Inc., 85 F.4th 931, 941 (9th Cir. 2023).
11
            First, Publishers establish access. Because Publishers’ lyrics are “widely disseminated” to
12
     the public through popular lyrics websites and digital music services, e.g., UMPG Decl. ¶ 12,
13
     Anthropic plainly had access to the Works. See Loomis v. Cornish, 836 F.3d 991, 995 (9th Cir.
14
     2016). Anthropic has also publicly admitted to copying datasets that contain Publishers’ lyrics to
15
     train its models, further underscoring its access. See Zhao Decl. ¶ 40; Chung Decl., Exs. G, H.
16
            Second, Claude’s output is substantially similar to Publishers’ lyrics. Under the two-part
17
     analysis employed in this Circuit, works are substantially similar when (1) under an objective,
18
     “extrinsic” test, the works share “specific expressive elements,” and (2) under a subjective
19
     “intrinsic test,” “‘the ordinary, reasonable audience’ would find the works substantially similar in
20
     the ‘total concept and feel of the works.’” Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th
21
     Cir. 2002) (quoting Kouf v. Walt Disney Pictures & Television, 16 F.3d 1042, 1045 (9th Cir. 1994)).
22
     When a defendant’s “duplication is literal or verbatim, then clearly substantial similarity exists.”
23
     Bell v. Wilmott Storage Servs. LLC, 12 F.4th 1065, 1074 (9th Cir. 2021) (quoting 4 NIMMER ON
24
     COPYRIGHT § 13.03[A][1]).
25
            The evidence that Anthropic’s AI models copy the Works is irrefutable. As Publishers’ side-
26
     by-side comparisons show, when prompted for the lyrics to each of the illustrative 500
27
     Compositions, Claude generated identical or near-identical copies of the Works, reproducing their
28
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 1   expressive elements in full and sometimes explicitly identifying the Works by name. See Leonard

 2   Decl. ¶¶ 18, 21-35; id. App. C, D, E. Claude generated near-exact copies of the Works in response

 3   to even oblique requests. See Leonard Decl. ¶ 36. Claude also combined verbatim portions of the

 4   Works with other lyrics, violating the derivative works right. Anthropic made these infringing

 5   outputs “publicly accessible to anyone with an internet connection” “who perform[ed] a particular

 6   type of online search,” violating Publishers’ display right, see Bell, 12 F.4th at 1072-73, and

 7   transmitted outputs containing Publishers’ lyrics from its servers to its users’ computers, violating

 8   the distribution right, see Perfect 10, Inc. v. Amazon, Inc., 508 F.3d 1146, 1162 (9th Cir. 2007).

 9          This slavish duplication of the Works in Claude’s output establishes striking similarity and

10   proves Anthropic has copied the Works. See, e.g., Restoration Hardware, Inc. v. Light, 2023 WL

11   4479250, at *1 (N.D. Cal. July 11, 2023) (finding “flagrant[] copying” based on “a table showing

12   [plaintiffs’] photographs side-by-side with [d]efendants’ infringing photographs”). Given the

13   striking similarity between Publishers’ lyrics and Claude’s outputs, Publishers would still “satisf[y]

14   the copying element of [their] infringement claim” “even were evidence of access not presented.”

15   Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 52 F.4th 1054, 1084 (9th Cir. 2022).

16          Anthropic’s post-suit implementation of ad hoc output guardrails does not moot Publishers’

17   direct copyright infringement claim based on Claude’s verbatim outputs. It is blackletter law that

18   a party “cannot automatically moot a case simply by ending its unlawful conduct once sued.”

19   Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013). Because Anthropic remains “free to return to
20   [its] old ways” unless ordered otherwise, Publishers’ output-based copyright infringement claim

21   remains live, and Publishers are entitled to preliminary injunctive relief. See id. at 92 (quoting

22   Deakins v. Monaghan, 484 U.S. 193, 201 n.4 (1988)).

23          2.      Anthropic unlawfully reproduces the Works as the input for its AI models.

24          Anthropic indisputably copies the Works when training its AI models. Anthropic admits to

25   training Claude with datasets that include Publishers’ lyrics, see Zhao Decl. ¶ 40, and Claude’s

26   output readily reproduces those lyrics. Claude could not, as a technological matter, generate such
27   accurate copies of the Works unless Anthropic first copied the Works as training input. That Claude

28   generates “exact or near-exact copies of [Publishers’] lyrics in response to a query” shows that
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 1   Anthropic “copied and stored those lyrics” during the training process. Id. ¶ 41 (explaining that

 2   “[t]he probability of a randomized LLM generating specific lyrics . . . without having trained on

 3   them, is astronomically low”). When Anthropic scrapes Publishers’ lyrics from the websites of

 4   their licensees, downloads and curates datasets containing the Works, and creates fragmented

 5   copies or “tokens” from the Works without Publishers’ authorization, Anthropic violates—again

 6   and again—Publishers’ right “to reproduce the copyrighted work in copies.” 17 U.S.C. § 106(1).7

 7           3.      Anthropic engages in volitional conduct.

 8           Anthropic’s actions easily satisfy this Circuit’s volitional conduct requirement. Anthropic

 9   chooses to copy Publishers’ works to train its AI models and affirmatively finetunes the models to

10   respond to prompts for lyrics to copyrighted songs. See, e.g., Atari Interactive, Inc. v. Redbubble,

11   Inc., 515 F.Supp.3d 1089, 1113 (N.D. Cal. 2021) (“Even though each step is performed

12   automatically by a computer, the acts remain volitional because [defendant] designed its software

13   to accomplish those tasks and for its own financial benefit.”). As its new guardrails show,

14   Anthropic also decides whether and how to limit Claude’s output. Given that Anthropic

15   “select[s] . . . material for upload, download, transmission, or storage” as training datasets on their

16   servers and “instigate[s] . . . copying, storage, [and] distribution” of the Works to users, Anthropic’s

17   volitional conduct is clear. See VHT, Inc. v. Zillow Grp., 918 F.3d 723, 732 (9th Cir. 2019).

18           Anthropic’s selection of the content it uses to train its AI models and its control over their

19   output distinguishes this case from Cartoon Network LP, LLLP v. CSC Holdings, Inc. (Cablevision),
20   536 F.3d 121 (2d Cir. 2008).8 The conduct found nonvolitional in Cablevision was the defendant’s

21   operation of a service “similar to the recording capability of a DVR in a television viewer’s home.”

22   Fox News Network, LLC v. TVEyes, Inc., 883 F.3d 169, 181 (2d Cir. 2018). But Anthropic’s AI

23   models bear no resemblance to an empty-vessel recording device like a DVR, VCR, or photocopier.

24   Those devices are capable of copying but devoid of content when purchased. When a user records

25   a TV program or makes a photocopy on such devices, the user determines both the input and output.

26
     7 See also id. § 101 (defining “copy”); VidAngel, Inc., 224 F.Supp.3d at 967-69 (holding defendant
27   that downloaded and encrypted “fragmented copies” of films violated reproduction right).
     8 The Ninth Circuit relied on Cablevision when adopting the volitional conduct requirement.
28
     Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 667 (9th Cir. 2017).
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 1   By contrast, Anthropic’s Claude models are built on copyrighted works that Anthropic, not the user,

 2   intentionally selects, downloads, prioritizes, and feeds to those models. Claude then generates

 3   outputs based on the closed universe of material on which it was trained. It is Anthropic’s choice

 4   of training data that leads Claude to infringe even when not explicitly asked and to copy even

 5   works that users did not seek. E.g., Leonard Decl., ¶¶ 36-37, App. F. Anthropic’s volitional conduct

 6   in choosing the data copied to train Claude is itself infringement that Anthropic cannot blame on

 7   its users. See Zillow, 918 F.3d at 743-44; TVEyes, Inc., 883 F.3d at 181 (finding “clear” volition

 8   when online DVR service “decides what audiovisual content to record [and] copies that content”).

 9                                                 *        *        *

10          In sum, Anthropic unlawfully reproduces the Works when it creates copies of the Works

11   during the training process, including in creating datasets, cleaning the text, and tokenizing the

12   text; and unlawfully reproduces, distributes, displays, and creates derivatives of the Works when

13   Claude generates responses that are substantially similar to the Works. Though each infringing step

14   in Anthropic’s process enables the next, each is a distinct copyright violation. Anthropic’s copying

15   of the Works in its training process infringes irrespective of the response Claude generates. And

16   Claude’s output of the Works infringes regardless of Claude’s internal process. When these

17   violations are taken together, Publishers are undoubtedly likely to establish direct infringement.

18          C.      Anthropic’s infringement is not fair use.

19          Rather than dispute copying, Anthropic seeks refuge in the defense of fair use, for which
20   Anthropic bears the burden of proof. See Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 590

21   (1994). Anthropic has invoked fair use only as to its use of the Works in training data, Opp. 5, and

22   not its copying in Claude’s output, for which Anthropic effectively concedes liability.

23          Even as limited to training, Anthropic’s mass copying of Publishers’ lyrics satisfies neither

24   the broader purposes of the fair use doctrine nor the statutory factors that govern its analysis. Fair

25   use ensures that copyright law’s private incentives for human authorship serve “the cause of

26   promoting broad public availability of literature, music, and the other arts.” Andy Warhol Found.
27   for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 526 (2023) (quoting Twentieth Century Music

28   Corp. v. Aiken, 422 U.S. 151, 156 (1975)). Anthropic does the very opposite. Rather than foster
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 1   human creativity, Anthropic consumes copyrighted lyrics wholesale to train its AI models to create

 2   uncopyrightable digital facsimiles of human authorship. Anthropic does not need to copy

 3   Publishers’ artistic expression to achieve its claimed purpose of training its models. Anthropic

 4   could exclude Publishers’ lyrics from its training, but it does not do so because it built Claude

 5   knowing and intending it to respond to queries for lyrics. And even when Claude generates “new”

 6   lyrics, Anthropic’s conduct remains unfair, because it is enabled by unauthorized copying, attracts

 7   subscription fees and investment, and competes directly with songwriters and publishers whose

 8   own lyrics are the raw material for Anthropic’s substitutes.

 9          In addition to the purposes of the fair use doctrine, courts consider four factors to decide

10   fair use: (1) “the purpose and character of the use,” (2) “the nature of the copyrighted work,”

11   (3) “the amount and substantiality of the portion used in relation to the copyrighted work as a

12   whole,” and (4) “the effect of the use upon the potential market for or value of the copyrighted

13   work.” 17 U.S.C. § 107. As set forth below, none favor Anthropic.

14          1.      Anthropic’s use of the Works is commercial and non-transformative.

15          The first factor considers “the purpose and character of the use, including whether such use

16   is of a commercial nature or is for nonprofit educational purposes.” See 17 U.S.C. § 107(1). This

17   factor also assesses whether the use is “transformative” in the sense that it “adds something new,

18   with a further purpose or different character.” Goldsmith, 598 U.S. at 528, 529 (quoting Campbell,

19   510 U.S. at 579). The Supreme Court’s recent decision in Goldsmith has reigned in the meaning
20   of transformativeness. The Supreme Court clarified that “[m]ost copying has some further purpose,

21   in the sense that copying is socially useful ex post,” but “[t]hat alone does not render such uses

22   fair.” Id. at 528-29. Accordingly, any reliance by Anthropic on pre-Goldsmith case law finding fair

23   use must be closely scrutinized in light of the Supreme Court’s express limitation of the role that

24   “transformativeness” plays under the first factor. Here, Anthropic’s use is both commercial and—

25   as clarified by Goldsmith—not transformative.

26          Anthropic has not disputed that its use is commercial. See Opp. 24. Anthropic is a for-profit
27   company valued at over $18 billion that monetizes its AI models in several ways. Chung Decl.,

28   Ex. E. Anthropic charges business customers who access the Claude API based on the length of
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 1   their prompts and Claude’s responses, generating revenue every time a user requests lyrics through

 2   the API and again every time the API generates output copying those lyrics. See Chung Decl., Ex.

 3   P at 1-2. For individual users, Anthropic sells a subscription-only AI model called “Claude Pro,”

 4   for which it charges $20 per month for “the ability to send many more messages” and receive more

 5   responses, among other revenue streams. Chung Decl., Ex. P at 3. In short, each time Anthropic

 6   copies and distributes the Works without a license, Anthropic “stands to profit from exploitation

 7   of the copyrighted material without paying the customary price.” Harper & Row Publishers, Inc.

 8   v. Nation Enters., 471 U.S. 539, 562 (1985) (emphasis added). Anthropic’s commercial use of the

 9   Works is “presumptively an unfair exploitation of the monopoly privilege that belongs to the owner

10   of the copyright.” Leadsinger, Inc. v. BMG Music Publ’g, 512 F.3d 522, 530 (9th Cir. 2008)

11   (quoting Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 451 (1984)).

12          Second, Anthropic’s use is not transformative. Anthropic may use a novel process to

13   accomplish its rote copying, but new technology does not automatically make a use transformative.

14   That “unauthorized copies are being retransmitted in another medium [is] an insufficient basis for

15   any legitimate claim of transformation.” Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 862

16   (9th Cir. 2017) (quoting UMG Recs., Inc. v. MP3.com, Inc., 92 F.Supp.2d 349, 451 (S.D.N.Y.

17   2000)). When training its AI models, Anthropic creates exact copies of the Works and retransmits

18   them in different formats, uses that bear little resemblance to those courts have held transformative.

19          Nor is Anthropic’s purpose transformative. 9 Under Goldsmith, Courts must look to the
20   purpose of the challenged use against the backdrop of its commercial aims:

21          [W]hether the use of a copyrighted work has a further purpose or different character . . . is
            a matter of degree, and the degree of difference must be balanced against the commercial
22          nature of the use. If an original work and a secondary use share the same or highly similar
            purposes, and the secondary use is of a commercial nature, the first factor is likely to weigh
23          against fair use, absent some other justification for copying.
24

25
     9 The fair-use analysis must focus on the use that Publishers challenge. See, e.g., Fox News
26   Network, LLC v. TVEyes, Inc., 883 F.3d 169, 176 (2d Cir. 2018) (limiting fair-use analysis to
     challenged “watch” function of service that also provided search functions). Publishers do not take
27
     issue with the creation of large language models in general, but rather Anthropic’s copying of
28   Publishers’ lyrics in training to build its AI models.
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 1   598 U.S. at 532-33. By foregrounding whether the defendant copies “to achieve a purpose that is

 2   the same as, or highly similar to, that of the original work,” the first factor addresses “the problem

 3   of substitution—copyright’s bête noire.” Id. at 528. A use that is “likely to substitute for, or

 4   ‘supplant’” the copyrighted work is not transformative. See id. Critically, “whether a work is

 5   transformative cannot turn merely on the stated or perceived intent” of the alleged infringer. Id.at

 6   545 (quoting Andy Warhol Found. for Visual Arts, Inc. v. Goldsmith, 11 F.4th 26, 41 (2d Cir. 2021)).

 7   It “is, instead, an objective inquiry into what use was made, i.e., what the user does with the original

 8   work.” Id.

 9           Anthropic copied Publishers’ lyrics to train an AI model that could deliver lyrics, in part or

10   in full, when prompted. That purpose is evident both in Claude’s outputs and Anthropic’s

11   “finetuning,” the process by which developers coach their models to perform as desired on

12   particular tasks. Anthropic’s finetuning data is replete with queries like “Please provide the lyrics

13   for the song ‘Only Hope,’” Chung Decl., Ex. A, at 2. Through continuous feedback, Anthropic

14   encouraged its models to prefer giving responses with complete lyrics over those that direct users

15   to find lyrics on the websites of Publishers’ licensees. See Chung Decl., Ex. J, at 15. Anthropic’s

16   ultimate use of the Works—as verbatim copies and derivatives in Claude’s output—sheds further

17   light on the purpose of Anthropic’s use of the lyrics in training. See VidAngel, Inc., 869 F.3d at

18   861–62 & n.12 (analyzing “intermediate” copying in light of streaming service offered to end

19   users). Anthropic plainly intended searching for and accessing lyrics to be part of Claude’s feature
20   set, so it built an AI chatbot that would respond to requests for lyrics with near-exact copies and

21   derivative works excluded from fair use’s ambit. 10

22           Anthropic’s purpose in copying Publishers’ Works in Claude’s training dataset is “highly

23
     10 When Claude distorts the Works or combines them with other text, it invades the derivative
24
     works right Goldsmith deemed to be a critical check on fair use. Goldsmith warned that simply
25   adding “new expression, meaning, or message” does not make a use transformative, because that
     interpretation of Section 107(1) “would swallow the copyright owner’s exclusive right to prepare
26   derivative works.” 598 U.S. at 541. The first fair-use factor, properly understood, “would not
     weigh in favor of a commercial remix . . . just because the remix added new expression or had a
27   different aesthetic” and “does not . . . dispense with the need for licensing” any time a challenged
28   use “alter[s] the meaning” of the original. Id. Here, Claude’s mashups and mangled copies of lyrics
     amount to unlicensed commercial remixes that are clearly excluded from fair use’s protection.
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 1   similar” to Publishers’ purpose in licensing the Works: to provide the lyrics online, on demand.

 2   Publishers license their lyrics to lyric aggregators, lyric websites, and other digital services to allow

 3   individuals to search for and access the Works online. Concord Decl. ¶¶ 11-12; ABKCO Decl.

 4   ¶¶ 11-12; UMPG Decl. ¶¶ 11-12; CCMG Decl. ¶¶ 11-12. Anthropic’s AI model can supplant the

 5   use of search engines like Google or websites like Genius.com, both Publisher licensees, to find

 6   and view the Works—precluding a finding that its use is transformative. Id. at 528. That Anthropic

 7   trained Claude expecting that it would usurp a typical use of Publishers’ lyrics undercuts the notion

 8   that Anthropic’s purpose is any different. See Associated Press v. Meltwater U.S. Holdings, Inc.,

 9   931 F.Supp.2d 537, 554-55 (S.D.N.Y. 2013) (holding redistribution of plaintiff’s articles not

10   transformative). Because Anthropic’s use of the Works “is so similar to [the copyrighted work]’s

11   typical use,” this factor favors Publishers. Goldsmith, 598 U.S. at 547.

12           Anthropic has claimed that it copied Publishers’ lyrics “to teach a neural network how

13   human language works.” Opp. 23. Even if the Court departed from Supreme Court precedent and

14   elevated “the subjective intent of the user” over “what use was made,” Goldsmith, 598 U.S. at 545,

15   Anthropic would still fail to justify its use based on that purpose. Anthropic admits it has “no

16   interest” in Publishers’ Works, that similar types of works “are considered fungible for purposes

17   of the model,” and that “it does not ultimately matter,” for example, what specific articles are

18   included in the training data, so long as articles in general are included.” Kaplan Decl. ¶¶ 19, 28.

19   Any text will do. This is antithetical to the foundations of fair use. Unlike a work of criticism or
20   parody that “needs to mimic an original to make its point,” Anthropic’s copying in training is

21   “merely use[d] . . . to avoid the drudgery in working up something fresh.” Campbell, 510 U.S. at

22   580. Anthropic already hires third parties to “voluntarily create and provide” training data and

23   trains Claude with “data we generate internally.” Chung Decl., Ex. V, at 5. Anthropic makes

24   unlicensed copies of Publishers’ lyrics and other copyrighted material simply to avoid the effort

25   and expense of generating its own training material, whether by commissioning training text from

26   employees and volunteers or by using synthetic data generated by models trained on licensed or
27   public domain material. See Newton-Rex Decl. ¶¶ 21, 29-30.

28
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 1           Anthropic’s purported need for a large volume of training text is no justification either.

 2   Anthropic does not copy Publishers’ works to “comment[] on, criticize[], or provide[] otherwise

 3   unavailable information about the original.” Goldsmith, 598 U.S. at 545; see also Campbell, 510

 4   U.S. at 580-81. In fact, “the particular subject” of the copyrighted lyrics is “irrelevant to that

 5   purpose,” weighing against fair use. See TCA Television Corp. v. McCollum, 839 F.3d 168, 182

 6   (2d Cir. 2016) (finding that a play’s “unaltered use” of a copyrighted work “as a theatrical device

 7   that sets up the plot, but is of little or no significance in itself” was not fair use). And unlike other

 8   instances of mass copying held transformative, Anthropic’s use does not make hard-to-find works

 9   newly available or avoid supplanting existing markets for copyrighted works. See Authors Guild

10   v. Google, Inc., 804 F.3d 202, 207-10, 218 (2d Cir. 2015). Indeed, Anthropic’s model appears

11   trained to compete with licensed lyric sources—and, to the extent it is successful, supplant them.

12           2.      The Works are within the core of copyright protection.

13           The second factor—the nature of the copyrighted work—also strongly favors Publishers.

14   17 U.S.C. § 107(2). “Original song lyrics are a work of creative expression . . . which is precisely

15   the sort of expression that the copyright law aims to protect.” Leadsinger, 512 F.3d at 531; see

16   also, e.g., Campbell, 510 U.S. at 586 (explaining that a musical composition is “closer to the core

17   of intended copyright protection” than factual works or compilations). The Works are

18   unquestionably expressive texts within the heart of the Copyright Act’s intended protection.

19           3.      Anthropic uses all or nearly all of each Work.
20           The third fair-use factor—“the amount and substantiality of the portion used in relation to

21   the copyrighted work as a whole”—also favors Publishers. 17 U.S.C. § 107(3). Copying a work in

22   “total” or taking “the heart” of a work weighs against fair use. McGucken v. Pub Ocean Ltd., 42

23   F.4th 1149, 1162 (9th Cir. 2022).

24           Anthropic has not disputed using the Works in full. Anthropic copies the complete Works

25   as input, enabling Claude to generate output that reproduce the Works, their most distinctive

26   portions, and unlicensed derivatives. See Zhao Decl. ¶¶ 40-42; Leonard Decl. ¶ 18, 21-37. Because
27   its copying is “total,” Anthropic cannot prove fair use unless it shows that it copied no more than

28   “necessary” for its purpose. See Monge v. Maya Mags., Inc., 688 F.3d 1164, 1179 (9th Cir. 2012).
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 1          Anthropic cannot make that showing. If Anthropic’s purpose is, as it claims, “to teach a

 2   neural network how human language works,” Opp. 23, Anthropic has many alternatives to copying

 3   Publishers’ lyrics as training data. Anthropic could use data generated by its workers, “synthetic

 4   data” generated by an AI model trained on licensed sources, or training text licensed from any of

 5   the many copyright-holders now entering the market to provide training data. Smith Decl. ¶¶ 75-

 6   81; Newton-Rex Decl. ¶¶ 31-34; Chung Decl., Exs. Q, R. Because Anthropic cannot show a

 7   specific need for Publishers’ works or that alternatives were unavailable, Anthropic’s total copying

 8   weighs against fair use. See, e.g., McGucken, 42 F.4th at 1162; Monge, 688 F.3d at 1164.

 9          Anthropic cannot rely on cases condoning total copying as fair use. Courts have permitted

10   comprehensive copying to build search tools that help users locate copyrighted works without

11   reproducing or distributing full copies of the works. In Perfect 10, Inc. v. Amazon.com, Inc., 508

12   F.3d 1146 (9th Cir. 2007), Google created server copies of full-size copyrighted images to “provide

13   thumbnail versions of images in response to user inquiries.” Id. at 1157. The Ninth Circuit held

14   Google’s use to be fair, because its purpose differed from that of the copyright holder, its use of

15   full-sized images to create thumbnails was “reasonable in light of the purpose of a search engine”

16   to help users find photos online, and crucially, the thumbnail copies were “reduced, lower-

17   resolution versions” and “not a substitute for the full-sized images.” Id. at 1155, 1157, 1166-68.

18   Similarly, in Authors Guild, 804 F.3d 202, the Second Circuit held Google’s digitization of entire

19   books to create a full-text searchable database to be fair use, because Google delivered only short
20   “snippets” of the works to help users locate the original works and “ma[de] available

21   information about [p]laintiffs’ books without providing the public with a substantial substitute.”

22   804 F.3d at 207.

23          These cases, even with their sharply circumscribed uses of the underlying works, mark the

24   outer boundaries of fair use. See Zillow, 918 F.3d at 742 (agreeing that Authors Guild dispute “tests

25   the boundaries of fair use”). Anthropic clearly oversteps those boundaries. Unlike in Perfect 10

26   and Authors Guild, Anthropic copies Publishers’ works to build AI models that can respond to
27   requests for lyrics, substituting for access to the Works through Publishers’ legitimate licensees. In

28   contrast to Google’s focus on hard-to-find works in Authors Guild, Anthropic copies the Works
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 1   precisely because they are, by virtue of Publishers’ licensees, available online. See Chung Decl.,

 2   Ex. V, at 5, 7. And rather than “making available information about” Publishers’ works, Claude

 3   omits or misstates attribution information and delivers the works in full. That is not fair use.

 4          4.      Anthropic’s unrestrained use would harm the market for the Works.

 5          The last and most important fair-use factor—“the effect of the use upon the potential

 6   market for or value of the copyrighted work”—favors Publishers. 17 U.S.C. § 107(4); see Harper,

 7   471 U.S. at 566 (describing fourth factor as “undoubtedly the single most important element of

 8   fair use”). “[T]o negate fair use,” Publishers “need only show that if the challenged use should

 9   become widespread, it would adversely affect the potential market for the copyrighted work.”

10   McGucken, 42 F.4th at 1163 (quoting Monge, 688 F.3d at 1182). When the use is commercial and

11   supplants the copyrighted work, this factor weighs against fair use. See Campbell, 510 U.S. at 591

12   (“[W]hen a commercial use amounts to mere duplication . . . of the original and serves as a market

13   replacement for it, [it is] likely that cognizable market harm to the original will occur.”).

14          Anthropic and its peers envision a future where AI usurps authorized websites and search

15   engines as the vehicle for accessing content and information. See Chung Decl., Exs. S, T. In such

16   a future, where conduct like Anthropic’s is widespread and compliance with copyright law is

17   excused, the harm to the market for the Works would be catastrophic. First, Anthropic inflicts

18   market harm by evading direct payment of licensing fees to Publishers. See Decl. of Michael D.

19   Smith (“Smith Decl.”) ¶¶ 47, 53. Second, by using the Works for free, Anthropic erodes their value
20   and reduces Publishers’ revenue from licenses to digital platforms, lyrics aggregators, and their

21   sublicensees. See id. ¶¶ 48-53; see also, e.g., UMPG Decl. ¶¶ 20-21. Third, Anthropic’s use, if

22   widespread, would shrink the lyrics licensing market. See McGucken, 42 F.4th at 1163 (finding

23   “harm to the market for licensing [plaintiff’s] photos would be immense” when defendant “made

24   the same use of [plaintiff’s] photos as the publications that obtained licenses”). Users can choose

25   to search for and access lyrics through platforms that license lyrics and pay copyright owners, or

26   through AI chatbots developed by companies that do not. If users choose Claude, the legitimate
27   licensees’ business model suffers, which could destroy Publishers’ ability to license lyrics in the

28   future. Smith Decl. ¶ 56. Anthropic’s use harms the market for the Works by reducing their value,
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 1   weakening demand for licenses, and threatening the viability of licensees. Smith Decl. ¶¶ 47–61.

 2          Anthropic’s use also intrudes on Publishers’ exclusive right to prepare derivative works

 3   and harms the market for those derivatives. “[A]n infringing use would destroy a derivative market

 4   when the infringing work is of the same type as existing works by licensed users.” McGucken, 42

 5   F.4th at 1152. Publishers license the Works for use in samples, remixes, interpolations, sheet music,

 6   and other works based on the Compositions. Concord Decl. ¶¶ 10-12, 19; ABKCO Decl. ¶¶ 10-12,

 7   21; UMPG Decl. ¶¶ 10-12, 20-23; CCMG Decl. ¶¶ 10-12, 20. When Claude combines the Works

 8   with other text, it supplants the market for licensed samples, remixes, sheet music, and similar

 9   derivatives. If that use were widespread, Publishers and songwriters would lose significant revenue

10   and the derivative licensing market would shrink—or even disappear. See McGucken, 42 F.4th at

11   1163 (weighing fourth factor against fair use when plaintiff stood to lose licensing revenues);

12   Frisby v. Sony Music Ent., 2021 WL 2325646, at *16 (C.D. Cal. Mar. 11, 2021) (same).

13          Further, Anthropic’s unlicensed use threatens to stifle the rapidly growing market for the

14   Works as AI training input. See, e.g., Smith Decl. ¶ 56. Publishers already license their Works

15   broadly and, in the last year, AI developers have entered dozens of agreements with entertainment

16   and media companies—ranging from News Corp to Reddit—to license their content for use in

17   training AI models. Id. ¶¶ 76-77. Because “a market exists for the right to copy and use” Publishers’

18   lyrics “in various formats,” Anthropic’s unlicensed use of those lyrics in training “harms

19   [Publishers’] opportunity to negotiate a value for those copies and also inhibits [Publishers’] ability
20   to enter similar licensing agreements with others in the future by making the copies less valuable.”

21   Fox Broad. Co. v. Dish Network, L.C.C., 905 F.Supp.2d 1088, 1105 (C.D. Cal. 2012), aff’d, 747

22   F.3d 1060 (9th Cir. 2014). Publishers have a clear interest in exploiting the potential licensing

23   market for training data, and Anthropic is destroying that market just as it is getting off the ground.

24   Even if Claude never generated responses containing Publishers’ lyrics, Anthropic’s unlicensed

25   copying in training still “threaten[s] to reduce the value of the right to copy the [Works] and

26   undermine[s] [Publishers’] relationships with licensees who pay for that right.” Id. (finding market
27   harm “[a]lthough the [challenged copies] are ‘intermediate’ copies not ultimately used in any end

28   product”). The “deleterious effect on an existing or potential market” for licenses to reproduce and
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 1   display Publishers’ lyrics forecloses finding that Anthropic’s use is fair. See Sofa Ent., Inc. v.

 2   Dodger Prods., Inc., 782 F.Supp.2d 898, 909 (C.D. Cal. 2010).

 3      II.        Publishers and their songwriters will suffer irreparable harm absent an injunction.

 4            Publishers face irreparable harm if Anthropic’s copying is not enjoined. Harm is irreparable

 5   when “remedies available at law, such as monetary damages, are inadequate to compensate” the

 6   plaintiff, Herb Reed Enters., LLC v. Fla. Ent. Mgmt., Inc., 736 F.3d 1239, 1249 (9th Cir. 2013), or

 7   when an injury is “intangible” or “difficult to valuate,” Rent-A-Center, Inc. v. Canyon Television

 8   & Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir. 1991). If Anthropic’s infringement continues,

 9   Publishers will suffer unquantifiable and irreparable injuries—including loss of control, goodwill,

10   business opportunities, and relationships—any one of which warrants a preliminary injunction.

11            As courts in this District have already recognized, when an AI company trains its models

12   on a plaintiff’s work, there is “a realistic danger that the [work] will be reproduced as output.” Doe

13   1 v. GitHub, Inc., 672 F.Supp.3d 837, 851 n.9 (N.D. Cal. 2023). Though Anthropic has adopted

14   output guardrails it claims will limit Claude’s infringing responses, “there is no efficient way for

15   a regulatory agency or third party to detect if an LLM developer removes guardrails or stops efforts

16   to maintain or update guardrails,” making “reliance on developer-built guardrails for legal

17   compliance particularly risky.” Zhao Decl. ¶ 34. Anthropic is actively developing and preparing to

18   release ever-more-powerful AI models that will exploit the Works in new, unpredictable ways.

19   Those models threaten even greater imminent harm, unless the Court orders Anthropic to maintain
20   guardrails that prevent distribution of lyrics or the creation of unauthorized derivative works and

21   enjoins Anthropic from copying Publishers’ lyrics to train future models.

22            A.      Anthropic deprives Publishers and songwriters of control.

23            First, Anthropic’s unlicensed use of the Works—both in training and Claude’s responses—

24   injures Publishers and songwriters by denying them control over their Works. Publishers’ loss of

25   control over how their lyrics are used and presented cannot be remedied with money damages. See

26   Niantic, Inc. v. Global++, 2019 WL 8333451, at *8 (N.D. Cal. Sept. 26, 2019) (finding irreparable
27   harm when copyright infringement “would deprive [plaintiff] of its ability to control how United

28   States consumers first encounter and experience” plaintiff’s works); Fox Broad. Co. Inc. v. Dish
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 1   Network, L.C.C., 2013 WL 11238486, at *4 (C.D. Cal. Sept. 23, 2013) (holding that “loss of control

 2   over the dissemination of copyrighted works” can “constitute irreparable harm”).

 3          Publishers and the songwriters they represent invest enormous resources and great care to

 4   manage how, when, where, and by whom their copyrighted musical compositions—and the lyrics

 5   therein—are exploited and used in other works. See Concord Decl. ¶¶ 13-16, 21; ABKCO Decl.

 6   ¶¶ 14-17, 23; UMPG Decl. ¶¶ 13-16, 25; CCMG Decl. ¶¶ 13-16, 22. Cognizant that songwriters

 7   carefully guard how their works are used, including through which media and platforms they are

 8   presented, Publishers customarily seek songwriter approval before licensing compositions for uses

 9   that they could find objectionable, forbid alteration of the lyrics, and specify what portion of the

10   lyrics the licensor may use and in what context. See, e.g., Concord Decl. ¶ 13; NSAI Letter ¶ 8;

11   Smith Decl. ¶¶ 35, 37, 39, 50. For Publishers and songwriters, controlling the integrity of the

12   Works is a paramount concern and a bedrock of their relationship. See, e.g., Concord Decl. ¶¶ 13-

13   16; ABKCO Decl. ¶¶ 14-17; UMPG Decl. ¶¶ 13-16; CCMG Decl. ¶¶ 13-16; NSAI Letter ¶¶ 8-9.

14   Anthropic’s unlicensed use of the Works wrests away this control, causing irreparable harm.

15          B.      Anthropic denies Publishers and songwriters credit and goodwill.

16          Second, Publishers and their songwriters are also irreparably harmed when Anthropic

17   copies their lyrics while denying them credit and associated goodwill. See, e.g., Vergara

18   Hermosilla v. The Coca-Cola Co., 717 F.Supp.2d 1297, 1305 (S.D. Fla. 2010) (“The harm to

19   [songwriter from] using his lyrics without providing credit goes beyond monetary damages to his
20   name recognition among music listeners”), aff’d, 419 F. App’x 917 (11th Cir. 2011).

21          Lyrics reflect the tremendous talents and creative efforts of songwriters, and so Publishers

22   take great pains to ensure that those songwriters are credited appropriately for those talents and

23   efforts. When licensing lyrics to lyric aggregators, lyric websites, and other digital services,

24   Publishers’ agreements often include explicit conditions requiring attribution. Concord Decl. ¶¶ 13,

25   22; ABKCO Decl. ¶¶ 14, 24; UMPG Decl. ¶¶ 13, 26; CCMG Decl. ¶¶ 14, 23. These safeguards

26   demonstrate that, along with control, credit is of crucial concern to Publishers and songwriters. Id.
27          Anthropic, however, fails to credit the owners of the copyrighted works it exploits. Claude

28   routinely reproduces, distributes, and displays Publishers’ copyrighted lyrics in its output but fails
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 1   to identify Publishers or their songwriters as the source. See Leonard Decl. ¶¶ 38, 40. Claude also

 2   sometimes erroneously provides Publishers’ lyrics in response to queries seeking lyrics to a

 3   different song, misattributing the Work to another publisher or writer. See id. ¶ 44. More broadly,

 4   Anthropic refuses to publicly credit the sources of the content it uses to train Claude. Anthropic

 5   irreparably harms Publishers and songwriters when it denies them credit and eliminates

 6   opportunities to generate business, raise songwriters’ profiles, and accrue goodwill.

 7           C.      Anthropic harms Publishers’ and songwriters’ reputations.

 8           Third, Anthropic damages the reputations of Publishers and their songwriters and

 9   diminishes the integrity of their work, yet another ground for irreparable harm. See, e.g., Niantic,

10   Inc., 2019 WL 8333451, at *8 (finding irreparable harm when defendant’s copying would “erode”

11   plaintiff’s “hard-won reputation and goodwill in the marketplace”). Anthropic mars the reputations

12   of Publishers and songwriters by associating musical works, known to the public to have been

13   written by them, with unauthorized derivatives. Claude frequently generates output that combines

14   portions of the Works with other lyrics or text, often in ways inconsistent with and inimical to

15   authorial intent—and for which the songwriter would never have granted a license. See, e.g.,

16   Concord Decl. ¶ 23; ABKCO Decl. ¶ 25; UMPG Decl. ¶ 27; CCMG Decl. ¶ 24; NSAI Letter ¶¶ 6-

17   7; see also, e.g., Leonard Decl., App. F, at 41-42 (combining “A Change is Gonna Come” with

18   “WAP”); Smith Decl. ¶ 39 (discussing erosion of consumer perception). In other instances, Claude

19   mangles the Works and misattributes distorted lyrics to Publishers and songwriters. See, e.g.,
20   Leonard Decl. ¶¶ 27, 44. Irreparable harm necessarily flows “from [Anthropic’s] wrongful

21   attribution to the individual, in the eye of the general public, of responsibility for actions over

22   which he or she has no control.” King v. Innovation Books, 976 F.2d 824, 832 (2d Cir. 1992).11

23

24   11 See also, e.g., id. (crediting “the obvious point that [an author’s] name and artistic reputation are

25   his major assets” and finding irreparable harm when defendant linked author’s name to film he did
     not write); Peermusic, III, Ltd. v. LiveUniverse, Inc., 2010 WL 11586701, at *3 (C.D. Cal. May
26   13, 2010) (finding irreparable harm when infringement “deprives [p]laintiffs of the ability to
     ensure the accuracy of the song lyrics and control the quality of their presentation”); Univision
27   Music LLC v. Banyan Ent., 2004 WL 5574359, at *6 (C.D. Cal. Nov. 15, 2004) (finding Spanish-
     language band irreparably harmed by release of their album in English, “a stylistic change” that
28
     was “‘contrary to what we want[] to accomplish musically, and what we believe in artistically’”).
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 1           D.      Anthropic erodes the value of and licensing market for the Works.

 2           Fourth, Anthropic’s infringement erodes the price of the Works, the legitimate licensing

 3   market for lyrics, and Publishers’ goodwill with licensees, causing potential loss of customers. By

 4   exploiting the Works for free as training data and in Claude’s output, Anthropic lowers the market

 5   value of the lyrics, reduces demand for legitimate licenses for lyrics, and impedes Publishers’

 6   negotiations with existing licensees. See, e.g., WPIX, Inc. v. ivi, Inc., 765 F.Supp.2d 594, 618

 7   (S.D.N.Y. 2011) (finding “ability of [copyright owners] to profit from sanctioned sources would

 8   inevitably drop” if defendant continued unsanctioned distribution of works), aff’d, 691 F.3d 275

 9   (2d Cir. 2012). Existing licensees, unwilling to purchase what Anthropic takes for free, may not

10   renew licenses to compete with Anthropic’s unlawful use. Smith Decl. ¶¶ 48-49; UMPG Decl. ¶

11   28. Potential licensees will hesitate to enter agreements in the first place. Id.

12           Anthropic’s use also undermines the licensing market for the Works by harming licensees

13   and their relationships with Publishers. Anthropic’s unlicensed use of the Works affords it an unfair

14   competitive advantage over lyrics aggregators, lyric websites, digital services, and Publishers’

15   other legitimate licensees, threatening their viability. See WPIX, Inc., 765 F.Supp.2d at 619 (finding

16   irreparable harm when infringement unfairly competes with plaintiffs’ licensees). Anthropic’s

17   continued infringement would likely diminish licensees’ trust in Publishers, damaging Publishers’

18   goodwill and hindering future business opportunities. See VidAngel, 224 F.Supp.3d at 976 (finding

19   irreparable harm where infringement “undermines [plaintiff’s’] negotiating position with licensees
20   and also damages goodwill with licensees”). For example, if Anthropic can copy Publishers’

21   copyrighted lyrics without paying licensing fees, “existing and prospective licensees,” including

22   popular websites used to look up lyrics, “will demand concessions to make up the loss of

23   viewership to non-paying alternatives, and may push additional players away from license-fee

24   paying technologies[.]” BarryDriller Content Sys., PLC, 915 F.Supp.2d at 1147.12

25
     12 See also Warner Bros. Ent. Inc. v. WTV Sys., Inc., 824 F.Supp.2d 1003, 1012 (C.D. Cal. 2011)
26   (finding “interfere[nce] with Plaintiffs’ grants of exclusivity to their licensees, Plaintiffs’ ability to
     negotiate similar agreements in the future (because potential licensees will not be willing to pay a
27   premium for a non-exclusive period), Plaintiffs’ relationships, including the goodwill developed
28   with their licensees, and Plaintiffs’ overall ability to control the use and transmission of their

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 1          Publishers’ “loss of control over business reputation,” as well as “loss of goodwill,

 2   negotiating leverage, and non-monetary terms in [plaintiffs’] licenses cannot readily be remedied

 3   with damages,” and are thus grounds for finding irreparable harm. VidAngel, 869 F.3d at 866.

 4          E.      Anthropic damages Publishers’ position to negotiate future licenses.

 5          Fifth, Anthropic’s infringement will irreparably damage Publishers’ competitive position

 6   and their ability to negotiate licenses with AI developers by permanently tilting the balance in

 7   future negotiations toward Anthropic and its peers. If Anthropic continues to exploit and devalue

 8   the Works, even if only during the pendency of this case, its conduct will become entrenched in

 9   the AI industry and the public consciousness. See Metro-Goldwyn-Mayer Studios, Inc. v. Grokster,

10   Ltd., 545 U.S. 913, 929 (2005) (reasoning that “the ease of copying songs or movies using software

11   like Grokster’s and Napster’s is fostering disdain for copyright protection”); Smith Decl. ¶ 56;

12   Concord Decl. ¶ 25. That will permanently undermine Publishers’ leverage in future negotiations

13   with AI developers to license lyrics as training data. Even if Publishers prevail on the merits and

14   Anthropic is forced to stop infringing, without preliminary relief, the parties will no longer be

15   bargaining from equal positions. See Waymo LLC v. Uber Techs., Inc., 2017 WL 2123560, at *11

16   (N.D. Cal. May 15, 2017) (finding irreparable harm when “it may prove impossible to fully restore

17   the parties to their respective competitive positions as if no misappropriation had occurred”).

18          AI technology continues to advance rapidly and unpredictably, increasing the potential

19   scope and scale of Anthropic’s infringement and underscoring the need for preliminary relief. “The
20   purpose of a preliminary injunction is merely to preserve the relative positions of the parties until

21   a trial on the merits.” Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981). Anthropic’s ongoing

22   infringement risks devaluing Publishers’ core assets, weakening their future negotiating position,

23   and hampering the development of a lawful licensing market for lyrics as training data by creating

24   “incorrect but lasting impressions” about the lawful use of the Works. See Warner Bros., 824

25   F.Supp.2d at 1013 (finding video-on-demand product caused irreparable harm by “threaten[ing]

26   the development of a successful and lawful video on demand market” and “threaten[ing] to confuse
27
     Copyrighted Works” irreparable); Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832,
28
     841 (9th Cir. 2001) (finding “loss of prospective customers or goodwill” to be irreparable harms).
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 1   consumers about video on demand products”).

 2              F.      Anthropic harms Publishers’ relationships with songwriters.

 3              Finally, Anthropic’s exploitation of the Works as training data and in Claude’s responses

 4   risks irreversibly damaging Publishers’ relationships with current and prospective songwriter-

 5   partners. See, e.g., ABKCO Decl. ¶ 28. If Anthropic’s unlicensed use continues, songwriters will

 6   lose confidence in Publishers’ ability to protect their interests, causing irreparable harm. See, e.g.,

 7   Itar-Tass Russian News Agency v. Russian Kurier, Inc., 886 F. Supp. 1120, 1124 (S.D.N.Y. 1995)

 8   (finding defendant that copied articles but omitted bylines irreparably harmed reputations of news

 9   organization plaintiffs who had “interest in protecting the reputation and integrity of their writers”).

10       III.        The balance of equities favors an injunction.

11              The balance of equities tips sharply in Publishers’ favor. Anthropic’s infringement threatens

12   immediate irreparable damage to Publishers’ core business, relationships, and critical emerging

13   licensing markets. In contrast, the preliminary injunction Publishers seek will not harm Anthropic

14   or third parties in a comparable or cognizable way. A defendant “cannot complain of the harm that

15   will befall it when properly forced to desist from its infringing activities.” Cadence Design Sys.,

16   Inc. v. Avant! Corp., 125 F.3d 824, 830 (9th Cir. 1997) (quoting Triad Sys. Corp. v. Southeastern

17   Express Co., 64 F.3d 1330, 1338 (9th Cir. 1995), superseded on other grounds, 17 U.S.C. § 117(c)).

18   Anthropic never licensed and has no right to copy the Works. Any risk an injunction poses to its

19   business is simply the consequence of “build[ing] a business model based upon a clear violation
20   of the [Publishers’] property rights,” eBay, Inc. v. Bidder’s Edge, Inc., 100 F.Supp.2d 1058, 1069

21   (N.D. Cal. 2000), and “merits little equitable consideration,” Triad Sys., 64 F.3d at 1338 (quoting

22   Concrete Mach. Co. v. Classic Lawn Ornaments, Inc., 843 F.2d 600, 612 (1st Cir.1988)).

23              Regardless, the narrowness of the requested injunction limits any conceivable harm to

24   Anthropic. Publishers seek only to require that Anthropic (1) maintain effective guardrails in its

25   AI models to prevent output that reproduces, distributes, or displays Publishers’ lyrics or creates

26   derivative works using those lyrics, and (2) refrain from making or using copies of Publishers’
27   lyrics to train future AI models. These requests are tailored to “preserve the status quo and the

28   rights of the parties” by stemming the harm from Anthropic’s conduct “until a final judgment issues
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 1   in the cause.” U.S. Phillips Corp. v. KBC Bank N.V., 590 F.3d 1091, 1094 (9th Cir. 2010). As for

 2   the first request, Anthropic claims to have already implemented guardrails making it “unlikely that

 3   any future user could prompt Claude to produce any material portion of the works-in-suit.” Opp.

 4   13. While these guardrails appear far from perfect, and discovery will reveal their true

 5   effectiveness, Publishers are willing to take Anthropic at its word at this stage and seek simply to

 6   maintain these already-implemented guardrails to stem the harm while the case proceeds. As for

 7   the second request, Publishers do not ask Anthropic to retrain or withdraw its existing models, but

 8   only to refrain from training future models on those lyrics. In this way, Anthropic will not be barred

 9   from developing, operating, releasing, or selling access to new versions of Claude, as long as it

10   does not copy Publishers’ lyrics, including the lyrics to the 500 representative Compositions, in

11   connection with those future models.

12      IV.      Enjoining Anthropic’s infringement will serve the public interest.

13            An injunction serves the public’s “compelling interest in protecting copyright owners’

14   marketable rights to their work and the economic incentive to continue creating.” VidAngel, 869

15   F.3d at 867 (quoting WPIX, 691 F.3d at 287); see also Broad. Music, Inc. v. Just Livin’ the Dream,

16   Inc., 2013 WL 12152465, at *3 (C.D. Cal. Nov. 26, 2013) (“[A]n injunction would ‘ensure that the

17   public will continue to benefit from the creative fruits of [plaintiffs’] labor.’”) (quoting Apple Inc.

18   v. Psystar Corp., 673 F.Supp.2d 943, 950 (N.D. Cal. 2009), aff’d, 658 F.3d 1150 (9th Cir. 2011)).

19   Here, “a [preliminary] injunction is necessary to preserve the integrity of the copyright laws which
20   seek to encourage individual efforts and creativity by granting valuable enforceable rights.”

21   LaFace Recs. v. Khan, 2008 WL 11395481, at *7 (N.D. Cal. Nov. 19, 2008) (quoting Atari, Inc. v.

22   N. Am. Philips Consumer Elecs. Corp., 672 F.2d 607, 620 (7th Cir. 1982)); NSAI Letter ¶ 5.

23            The narrow relief requested will neither burden the public by reducing access to the Works,

24   which remain available through legitimate sources, nor unduly impede Anthropic’s development

25   of AI models. Indeed, the arc of history shows that technological advancement and compliance

26   with copyright law are not mutually exclusive. Developers of new technologies—from player
27   pianos to karaoke machines, cable television stations, and digital music platforms—have paid for

28   copyrighted content and nevertheless succeeded in their businesses.
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 1      V.      The Court should not require Publishers to post security.

 2           Publishers ask the Court to waive bond or require only minimal security. Rule 65(c) grants

 3   the Court “wide discretion in setting the amount of the bond, and the bond amount may be zero if

 4   there is no evidence the [defendant] will suffer damages from the injunction.” Conn. Gen. Life Ins.

 5   Co. v. New Images of Beverly Hills, 321 F.3d 878, 882 (9th Cir. 2003) (internal citations omitted).

 6   “[L]ikelihood of success on the merits . . . tips in favor of a minimal bond or no bond at all.”

 7   2Die4Kourt v. Hillair Cap. Mgmt., LLC, 692 F. App’x 366, 369 (9th Cir. 2017).

 8           The narrow preliminary injunction sought does not require Anthropic to withdraw or retrain

 9   its existing models, discard models now in development, or build new technology. It is therefore

10   unlikely to cause Anthropic significant financial harm, rendering security unnecessary. See, e.g.,

11   Beyond Blond Prods., LLC v. Heldman, 479 F.Supp.3d 874, 890 (C.D. Cal. 2020) (waiving bond

12   when defendant would not incur significant compliance costs), aff’d, 2022 WL 1101756 (9th Cir.

13   Apr. 13, 2022). Any hardship that Anthropic suffers because it may no longer exploit Publishers’

14   lyrics without permission is not cognizable, because it stems from Anthropic’s choice to build a

15   business on infringement. See Cadence, 125 F.3d at 830 (collecting cases disregarding “the harm

16   that will befall [defendant] when properly forced to desist from its infringing activities” in

17   preliminary injunction analysis). Alternatively, Publishers submit that because they are likely to

18   succeed on the merits and face irreparable harm, a bond not exceeding $10,000 is appropriate. 13

19                                            CONCLUSION
20           Publishers respectfully request that the Court grant this Motion and enter Publishers’

21   proposed preliminary injunction, ordering Anthropic to (1) maintain effective guardrails that

22   prevent its AI models from generating output that disseminates, in full or in part, the lyrics to

23   compositions owned or controlled by Publishers, and (2) refrain from using unauthorized copies

24   of such lyrics to train future models. A proposed order is attached as Exhibit A.

25

26   13 See, e.g., Restoration Hardware, 2023 WL 4479250, at *3 (setting $10,000 bond in copyright

     infringement case); BGC Inc. v. Robinson, 2022 WL 2915703 (N.D. Cal. July 25, 2022) (setting
27   “a nominal bond” of $1,000 in trademark infringement case); Cisco Sys., Inc. v. Wuhan Wolon
     Commc’n Tech. Co., 2021 WL 4962661, at *12 (N.D. Cal. July 23, 2021) (waiving bond given
28
     “clear evidence of [defendant’s] counterfeiting, infringement, and unfair competition”).
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